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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00208 JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   CARLOS JAIRO GALLARDO SALCEDO, ET                   DATE: January 12, 2016
     AL.,                                                TIME: 9:15 a.m.
15                                                       COURT: Hon. John A. Mendez
                                  Defendants.
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17
                                                 STIPULATION
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19         1.      By previous order, this matter was set for status on January 12, 2016.

20         2.      By this stipulation, defendants now move to continue the status conference until March 8,

21 2016 at 9:15 a.m., and to exclude time between January 12, 2016, and March 8, 2016 at 9:15 a.m., under

22 Local Code T4.

23         3.      The parties agree and stipulate, and request that the Court find the following:

24                 a)      The government has represented that the discovery associated with this case

25         includes approximately 165 audio recordings, photographs, and pages of documents. All of this

26         discovery has been either produced directly to counsel and/or made available for inspection and

27         copying.

28                 b)      Counsel for defendants desire additional time to consult with their clients, to


      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
      FINDINGS AND ORDER
             Case 2:15-cr-00208-JAM Document 16 Filed 01/08/16 Page 2 of 3


 1        review the current charges, to conduct investigation and research related to the charges, to review

 2        discovery for this matter, and to discuss potential resolutions with their clients.

 3                c)      Counsel for defendants believe that failure to grant the above-requested

 4        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 5        into account the exercise of due diligence.

 6                d)      The government does not object to the continuance.

 7                e)      Based on the above-stated findings, the ends of justice served by continuing the

 8        case as requested outweigh the interest of the public and the defendant in a trial within the

 9        original date prescribed by the Speedy Trial Act.

10                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11        et seq., within which trial must commence, the time period of January 12, 2016 to March 8, 2016

12        at 9:15 a.m., inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

13        Code T4] because it results from a continuance granted by the Court at defendants’ request on

14        the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

15        best interest of the public and the defendant in a speedy trial.

16                                 [Remainder of page intentionally blank.]

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
     FINDINGS AND ORDER
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 2          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5          IT IS SO STIPULATED.

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     Dated: January 7, 2016                                   BENJAMIN B. WAGNER
 7                                                            United States Attorney
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                                                              /s/ CHRISTIAAN HIGHSMITH
 9                                                            CHRISTIAAN HIGHSMITH
                                                              Assistant United States Attorney
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11
     Dated: January 7, 2016                                   /s/ CHRISTIAAN HIGHSMITH
12                                                            TIMOTHY ZINDEL
13                                                            Counsel for Defendant
                                                              Salvador Estrella Naranjo
14

15 Dated: January 7, 2016                                     /s/ CHRISTIAAN HIGHSMITH
                                                              CLEMENTE JIMENEZ
16                                                            Counsel for Defendant
                                                              Carlos Jairo Gallardo Salcedo
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                                            FINDINGS AND ORDER
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            IT IS SO FOUND AND ORDERED this 7th day of January, 2016.
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21                                                     /s/ John A. Mendez
22                                                     THE HONORABLE JOHN A. MENDEZ
                                                       UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        3
      FINDINGS AND ORDER
